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UNlTED STATES DlSTR|CT COURT
|\/llDDLE D|STR|CT OF FLOR|DA
JACKSONV|LLE D|VlSlON

|N RE: Request from the United Kingdom

Pursuant to the Treaty Between the United

States of America and the Government of the

United Kingdom of Great Britain and Northern Case No.
ireland on l\/lutual Lega| Assistance in

Criminal l\/|atters in the l\/latter of Easier, PLC

 

 

APPL|CAT|ON FOR ORDER PURSUANT TO THE TREATY
ON MUTUAL ASS|STANCE IN CR|M|NAL MATTERS AND 28 U.S.C. §1782

The United States of America, by and through the undersigned Assistant United
States Attorney, petitions this Court for an Order, pursuant to Artic|e 1 of the Treaty
Between the United States of America and the Government of the United Kingdom of
Great Britain and Northern ireland on l\/lutual Legal Assistance in Crimina| l\/|atters, in
force December 2, 1996, Treaty Doc. 104-2, 1994 WL 855115 (copy attached), 28
U.S.C. §1782, and its own inherent authority, appointing Arno|d B. Corsmeier, Assistant
United States Attorney, as Commissioner to collect evidence from witnesses within the
jurisdiction of this Court and to take such other action as is required to execute the
attached request from the United Kingdom made pursuant to the Treaty.

l\/lEl\/lORANDUl\/| OF LAW

The Treaty with the United Kingdom obligates the United States, and empowers
this Court, to provide assistance to the United Kingdom in criminal matters. This Court
is also empowered to provide assistance by the federal statute governing the provision

of assistance in foreign judicial proceedings general|y, 28 U.S.C. §1782, and by its own

inherent authority. See, e.g., ln re Letter Roqatorv from the Justice Court, District of

 

 

 

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l\/lontreal Canada, 523 F.2d 562 (6th Cir. 1975). A treaty constitutes the law of the |and.
U.S. Const. art. Vl. The provisions of a treaty have equal footing with acts of Congress
and are binding on the courts. Asakura v. Citv of Seatt|e, 265 U.S. 332, 341 (1924);
United States v. The Pequ, 5 U.S. 103 (1801). To the extent that the provisions of a
treaty are inconsistent with a preexisting statutory provision, the treaty supersedes the
statute. Zscherniq, et al. v. l\/liller. Administrator, et a|., 389 U.S. 429, 440-441 (1968);
ln re Commissioner’s Subpoenas, 325 F.3d 1287, 1305-1306 (11th Cir. 2003); M
States v. Erato, 2 F.3d 11, 15-16 (2d Cir. 1993).

The United States and the United Kingdom entered into the Treaty for the
purpose of improving "the effectiveness of law enforcement authorities in both
countries . . . through cooperation and mutual legal assistance in criminal matters . . .
Preamble to the Treaty. The Treaty obliges each party to provide assistance to the
other in connection with the investigation and prosecution of criminal offenses, and in
proceedings related to criminal matters. Articles 1 and 19(1). The assistance shall
include taking testimony or statements of persons, providing documents, records, and
evidence, serving documents, locating and identifying persons, transferring persons in
custody for testimony or other purposes, executing requests for searches and seizures,
identifying, tracing, freezing, seizing, and forfeiting the proceeds and instrumentalities of
crime and assistance in related proceedings, and such other assistance as may be
agreed between Central Authorities. Article 1(2). See Barr v. U. S. Department of
M, 645 F. Supp. 235, 237 (E.D.N.Y. 1986), aff`_d, 819 F.2d 25 (2d Cir. 1987).

The Treaty empowers federal district courts to execute treaty requests in order to

comply with the United States' treaty obligation. Article 5 provides that:
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(1) As empowered by this Treaty or by national law, or in accordance with
its national practice, the Requested Party shall take whatever steps it
deems necessary to give effect to requests received from the Requesting
Party. The courts of the Requested Party shall have authority to issue
subpoenas, search warrants, or other orders necessary to execute the
request.

(3) The method of execution specified in the request shall be followed to

the extent that it is not incompatible with the laws and practices of the

Requested Party.

The Treaty contemplates that federal district courts will use compulsory measures to
execute such requests. Article 8(1) provides that:

A person in the territory of the Requested Party from whom evidence is

requested pursuant to this Treaty may be compelled, if necessary, to

appear in order to testify or produce documents, records, or articles of

evidence by subpoena or such other method as may be permitted under

the law of the Requested Party.

The Treaty reguires the two states to provide,assistance to each other in
investigations and court proceedings covered by the Treaty. However, were no treaty in
force, a federal district court would nonetheless be empowered, within its discretion, to
order the production of evidence under 28 U.S.C. §1782, the statute governing the
provision of assistance in foreign judicial proceedings generally. Under Section 1782,
any interested person, whether a foreign country, a foreign judicial authority, or a litigant
in a foreign court, may seek assistance regardless of the availability of reciprocal
assistance from the foreign jurisdiction. S. Rep. No. 1580, 88th Cong., 2d Sess. 1,
reprinted in 1964 U.S. Code Cong. & Admin. News 3872.

The Treaty imposes no dual criminality requirement as a precondition for
providing assistance Consequent|y, each state is obligated to provide assistance

without regard to whether the conduct under investigation or prosecution would

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constitute an offence underthe laws of the Requested State. W Letter of Submittal of
Treaty to the President from the Department of State, January 6, 1995.

The Treaty is designed to be self-executing and does not require implementing
|egislation. Letter of Submittal of the Treaty to the President from the Department of
State, January 6, 1995. As such, it utilizes the existing authority of the federal courts,
particularly 28 U.S.C. §1782. Pursuant to Section 1782, a court may appoint a
Commissioner to gather evidence on behalf of the court and to submit the evidence,
through appropriate channe|s, to the requesting nation. Consequent|y, federal district
courts routinely utilize the "commission" procedure authorized by 28 U.S.C. §1782 as
the "procedural vehicle" to fulfill theirjudicial responsibility under the Treaty of executing
such requests. |n re Commissioner’s Subpoenas, 325 F.3d 1287, 1305-06 (11th Cir.
2003).

Section 1782 further provides: "To the extent that the order does not prescribe
othen/vise, the testimony or statement shall be taken, and the document or other thing
produced, in accordance with the Federal Rules of Civi| Procedure." A federal district
courtvempowers a commissioner to collect the evidence using the procedure prescribed
by the court. A court has "complete discretion in prescribing the procedure to be
followed." Sen. Rep. No. 1580, 88th Cong., 2d Sess. 1 (1964), reprinted in 1964 U.S.
Code Cong. & Admin. News 3782, 3789. When a court's order fails to specify a
procedure by which a commissioner is to collect the evidence, the Federal Ru|es of Civi|
Procedure app|y. ln re Letters Roqatorv from the Tokvo District Prosecutor's Office,
Tokyo, Japan, 16 F.3d 1016, 1019 (9th Cir. 1994); |n re Letter of Request from the

Supreme Court of Honq Konq, 138 F.R.D. 27, 31 (S.D.N.Y. 1991). However, as
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Section 1782 makes clear, when a court does specify a procedure other than the
Federal Ru|es of Civil Procedure, the alternative procedure shall app|y. 28 U.S.C.
§1782(a); Euromepa S.A. v. R. Esmerian, |nc., 51 F.3d 1095, 1098 (2d Cir. 1995). ln
executing a request made pursuant to a treaty, a court has the obligation to prescribe
effective and expeditious procedures designed to promote the purpose of the treaty.
See |n re Commissioner’s Subpoenas, 325 F.3d 1287, 1305 (11th Cir. 2003).

Article 5(2) of the Treaty provides for the issuance of procedural documents,
such as subpoenas, to effectuate the gathering of evidence, as follows:

When execution of the request requires judicial or administrative action,

the request shall be presented to the appropriate authority by the persons

appointed by the Central Authority of the Requested Party.
Thus, the commissioner has the power to receive the testimony or statements of
witnesses and the production of documents or other things, and the court may
prescribe the practice and procedure for taking testimony or statements or producing
documents or other things. One such procedure may be the use of the attached form,
entitled Commissioner’s Subpoena, to obtain the requested evidence §§ |n_re
Commissioner’s Subpoenas, 325 F.3d 1287, 1291 (11th Cir. 2003) (incorporating in
pertinent part the district court’s order directing the use of commissioner’s subpoenas);
United States v. Erato, 2 F.3d 11, 13-14 (2d Cir. 1993) (incorporating in pertinent part
the district court's order directing the use of commissioner's subpoenas). The
commissioner's subpoena is a creation of neither the Federal Rules of Criminal
Procedure nor the Federal Rules of Civil Procedure, but is an order of the court for the
production of evidence in accordance with both Article 25(4) of the Treaty and Section
1782. §§ 28 U.S.C. §1651;White v. Nationa| Footbal| Leaque, 41 F.3d 402, 409 (8"‘

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Cir. 1994) (a court may issue whatever process it deems necessary to facilitate
disposition of the matter before it).

ln addition, it is customary that requests for international legal assistance in
criminal matters be executed without notification, by the requested state, to the target of
a foreign criminal investigation or a foreign criminal defendant, unless a contrary
intention is apparent from the nature or content of the request. Accordingly, a federal
district court should authorize a commissioner to collect the evidence requested without
notice to any party other than the recipient of the commissioner's subpoena. To the
extent that execution of a request entails the production of bank or financial records
otherwise covered by the Right to Financia| Privacy Act, 12 U.S.C. §§3401 et seq., the
commissioner need not give, or arrange for the custodian of records to give, notice to
an account holder inasmuch as the Act does not apply in the execution of foreign legal
assistance requests. Younq v. U.S. Dept. of Justice, 882 F.2d 633, 639 (2d Cir. 1989);
|n re Letter of Request for Judicia| Assistance from the Tribuna| Civil De Port-Au-Prince, l
Republic of l-laiti, 669 F. Supp. 403, 407 (S.D. Fla. 1987); ln re Letters of ReGuest from
the Supreme Court of Honq Konq, 821 F. Supp. 204, 211 (S.D.N.Y. 1993). Forthese
reasons, it is requested that this Court authorize the use of commissioner’s subpoenas
and prescribe that the execution of the request proceed without notice to the targets or
defendants in the foreign criminal proceedings

A court, in keeping with its obligation to design effective and expeditious
procedures to promote the purpose of the Treaty, may authorize service of
commissioner’s subpoenas anywhere within the territory of the United States (i.e.,
coextensive with the service of subpoenas in U.S. criminal investigations and

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prosecutions pursuant to Rule 17, Federal Rules of Criminal Procedure). The Section
1782 limitation on the court's power to compel to "the district in which a person resides
or is found" is inoperative in executing a treaty request. ln re Commissioner’s
Subpoenas, 325 F.3d 1287, 1305-1306 (11th Cir. 2003).

As the attached request reflects, the request has been made by the Serious
Fraud Office of the United Kingdom as part of the investigation of Easier, PLC, and its
principals for the offenses of conspiracy to defraud and theft, in violation of the
Common Law of England and Wales. Among otherthings, the United Kingdom has
asked the United States to request that a designated officer of SouthTrust Bank (now
Wachovia) in Palm Coast, in the l\/liddle District of Florida, produce copies of all account
opening forms, bank statements, paid checks, deposit slips, credit vouchers,
telegraphic (wire) transfers, SW|FT transfers, records of interaccount transfers, records
of payments to any other account or bank, safe custody account records, signature
cards and references, customer information records and notes, bank managers’ notes,
and any other correspondence or documents relating to any account held by l\/laxima
investment Fund LLP with the bank from January 1, 2003, to the present.

ln accordance with the request of the United Kingdom, the government moves
this Court to issue the attached Order appointing Assistant United States Attorney
Arnold B. Corsmeier as Commissioner and authorizing him to take the actions
necessary, including the issuance of Commissioner's Subpoenas, to obtain the
evidence requested, and to adopt such procedures in receipt of the evidence as are
consistent with the intended use thereof in the United Kingdom.

Dated this Q_§’jbday of October, 2007.

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By:

Respectfully submitted,

JAl\/lES R. KLINDT
United States Attorney

ARNOLD B. CORSl\/lElER
Assistant United States Attorney
Florida Bar No. 0869139

300 North Hogan Street, Suite 700
Jacksonville, Florida 32202-4270
Telephone: (904)301~6300

 

` Facsimile: (904) 301-6310

E-mail: chip.corsmeier@usdoj.gov

 

 

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A
Home Office

Crime induction and Comunity Sa£oty Group
United Kingdom Central Authority
S'h Floor, Fry Build.ing, 2 Marsha.m Scxoet, LONDON SWlP 4DF
Switchboard 08700001585 Fax 0207 035 6987 Direct Line 020 7035 1282
E-mail @homeoffice.gsi.gov.uk www.homeoffice.gov.\.tk

US Department of ]ustice our Ref MLo 06/221/0106
1 202 514 0Q00 _ m m

Of~C flc~e O]fé?;;ril;a;lonal Affalrs pate 8 F€bruary 2006
1301 New York Avenue, N.W.

S‘h Floor, Bond Building

WASHINGTON DC 20005

Dear/Madam
REQUESTVFOR LEGAL ASSISTANCE vIN AN INVESTIGATION ON: EASIER PLC

Please find enclosed with this letter a request issued by the Serious Fraud Office I should be grateful if you
would pass it to the appropriate government to arrange for the request to be executed.

This requests is made under our Mutual legal Assistance Treaty (MLA'I) between the United Kingde of
Great Br'itain and Northem Ireland and United States of America 1994 t

Any evidence obtained may be handed to the visiting British Officers or can be returned via diplomatic
channels Under Section 9(2) of the Crime (International Co-operation) Act 2003, the evidence obtained as a
result of this letter of request cannot be used, without your consent, for any other purpose than that specified
in the request.” z

I would be grateful if you could aclmowledge receipt of this request either by, email, fax or mail as you deem
appropriate I look forward to hearing from you soon.

Yous mainly

Ms B Adegbenro
United Kingdom Central Authoricy
For and on behalf of the Secretary of State

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BUILDING A SAFE, JUST AND TOLER.ANT SOCIETY 1°'=="'°3*»¢°¢

 

Scrious Fraud ()fficc

 

 

Director: Robert Ward|e E|m House 10-16 Elm Street London WC1X OB]
Email: Christopher.brown@sfo.gsi.gov.uk

The Competent J udicial Authorities Direct Te'= +44 (0)20 7239 7941
of the United States of America.
Direct Fax: +44(0)20 7833 5450

Oft`ice of lnternattonal Affalrs. our ref ESR/D/cB

Washington.

Date: 2 February 2006

Dear Sir,

REQUEST FOR ASSISTANCE UNDER THE PROVISIONS OF THE TREATY
OF MUTUAL LEGAL ASSISTANCE IN CRIMINAL MATTERS 1994
BETWEEN THE UNITED STATES OF AMERICA AND THE UNITED
KINGDOM.

RE: EASIER PLC.
BRIAN COPSEY, SIMON EAGLE, DAVID GOUGH AND GRAHAM MAY.

The Director of the Serious Fraud Offlce presents his compliments to the Competent
Judicial Authorities of the United States of America and has the honour to inform them
of the following facts and to submit this request for assistance in relation to a criminal
investigation being carried on by the Serious Fraud Office (“SFO”) and the City of
London Police.

The SFO was created by the Criminal Justice Act 1987 (the “CJA 1987”) and came into
being on 6 April 1988. Under the CJA 1987, the Director of the SFO (the “Director”)
may investigate and, if necessary, institute criminal proceedings in respect of suspected
offences in England, Wales and Northern Ireland Which appear to him, on reasonable
grounds, to involve serious or complex fraud. The Director discharges his functions
under the superintendence of the Attorney General for England and Wales. The Director
is also empowered by statute to issue letters of request.

Designated lawyers in the SFO have all the powers of the Director as to the
investigation and prosecution of serious or complex fraud. The signatory to this letter is
one of the lawyers so designated and is empowered to issue this request for assistance

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Britdoc Exchange: DX 135896 London (Grays l

 

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Persons under investigation
1. Brian Mawson Copsey,
Flat 25 Bryanston Court,
George Street,

London

WlH 7HA.

Date ofbirth: 20/1/54
Nationality: New Zealander.
2. Simon Peter Eagle.

The Rick

South End

Much Hadham
Hertfordshire

SGIO 6EP

Date of birth: 16/08/ 1958
Nationality: British.

3. David Wyndham Gough.
35 Hurlingham Square
Peterborough Road

London

SW6 3DZ.

Date ofbirth: 13/11/1928
Nationality: British.

4. Graham Philip May.

13 Penningtons,

Bishop Stortford,

Herts

CM23 4LE.

Date ofbirth. 18.2.55.

Nationality: British.

 

 

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Offences.

There is reasonable cause to believe that the above named have committed offences of
conspiracy to defraud and theft, Conspiracy to Defraud is an offence contrary to the
Common Law of England and Wales. The offence comprises an agreement between
two or more persons to act dishonestly so as to prejudice or to take the risk of
prejudicing another's rights (usually their economic interests), knowing that those in
agreement have no right to do so. Common Law is the ancient unwritten Law of
England and Wales as handed down in the decisions of the judges The offence is only
triable on indictment by a judge and jury. By Section 12 of the Criminal Justice Act
1987,_ the offence is punishable by a maximum term of 10 years imprisonment

Theh is an offence contrary to Section 1 of the The& Act 1968. The offence is triable
on indictment by a judge and jury. The offence is punishable by a maximum term of 7
years imprisonment

Copies of the relevant statutory provisions are attached hereto as "Annex A”.

Summagg of Facts.

The Serious Fraud Office and the City of London Police are carrying out an l
investigation into the affairs of Easier plc (“Easier”).

The suspects hold the following positions with Easier:-

(1) David Gough - Non-executive chairman

(2) Simon Eagle - Director (resigned 21 July 2004).
(3) Brian Copsey - General Manager.

(4) Graham May - Company Secretary.

Easier plc was formed in November 1999 with the intention of establishing an intemet
service to enable people to buy and sell homes on-line.

Easier was floated as a new start company on 4th February 2000 via a placing of £12
million on the Alternative Investment Market (“AIM”).

Disappointing revenues contributed to the collapse of its share price and the business
was put up for sale in November 2000. No buyer was found and it ceased trading in
February 2001.

On the 30th June 2004 Easier made a regulatory announcement that it intended to invest
in the property sector. The first stage in this new strategy was the entering into of a
conditional agreement to acquire the whole of the issued share capital of Onslow
Ditchling Company (ODL). Their nominated advisers were Beaumont Cornish Ltd.
Deloitte Touche were the company’s auditors

Beaumont Comish originally understood that Easier was a cash shell with £5m. A
balance of £4.5m was confirmed by the company in mid July 2004. By September 2004

 

 

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the true position appears to be that Easier had only £Zm at its disposal with the
remainder allegedly invested in a number of “special situation” stocks.

This matter was referred to the SFO by the AIM Regulation Section of the London
Stock Exchange in December 2004. This followed a report from Beaumont Cornish that
Easier had failed to produce any conclusive proof of payment for or ownership of the
“special situation stocks” leading to a suspicion that company funds may have been

misappropriated.

Between 11"‘ November 2003 to 21St July 2004 Simon Eagle was a non executive
director of Easier. He is currently under investigation by the Financial Services
Authority in connection with his ownership and operation of a stock broking firm SP
Bell.

On 28th October 2003 Easier paid £lm to SP Bell. £800,000 was then transferred by SP
Bell to Pershing Securities. The reference given by SP Bell for this transaction is RA
30536.This reference relates to an SP Bell client Winterway Investment Corp which is
owned by Simon Eagle. On 23rd October 2003 SP Bell had written to Mr Eagle at
Winterway Investment Corp advising that his account Was in debit in the sum of
£753,778.00 and asking for a cheque payable to Pershing Securities Ltd to be forwarded
by return of post. Information provided by Pershing confirms that the funds from Easier v
have been used to clear Eagle’s indebtedness to Pershing»which relates to a purchase of
3 million Easier shares. Eagle subsequently sold the Easier shares for £596,972 with the
bulk of the funds being paid to The Viburna Corp, a company owned by Eagle.

During the course of its dealings with its professional advisers representatives of Easier
have produced various documents to their professional advisers in an effort to convince
them that the £lm payment to SP Bell was used to purchase shares in the following
companies on behalf of Easier:-

1. Apogee Technology Inc (“Apogee”) 129 Morgan Drive Norwood MA
02062. Apogee stock is quoted on the American stock Excahnge under the
symbol A'l`A.

2. Duravest Inc (“Duravest”) 1543 Bayview Avenue Suite 409 Toronto
Ontan'o. Duravest stock is quoted on the OTC Bulletin Board under the symbol

DUVT.
Examples of the documents produced to Easier professional advisers are as follows:-

(a) A copy of a statement from the Leadenhall Bank and Trust Limited, One
Montague Place P.O. Box N -1965, Nassau, as proof that Easier had paid
US$l 50,000 to Duravest and US$lm to Apogee in September 2003.

(b) An agreement between Zeal Consultants Ltd and Easier dated 24th October
2003 relating to the purchase by Easier of 1,250,0()0 Duravest shares for
£720,000 apparently signed by Gough.

(c) Minutes of an Easier Board Meeting on 27th October 2003 attended by

 

 

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Gough, Eagle, May and Copsey. These minutes contain the following entries:-
"After discussion in relation to the company s proposed investment
purchases, IT WAS RESOL VED that the company purchase 1,250, 000
ordinary shares in Duravest Inc at a price of £ 720, 000. ”

"IT WAS FURTER (sic) RESOLVED that the company purchase
50, 000 ordinary shares in Apogee Technologies Inc at a price of
£280,000. ”

(d) Copy letter on Easier plc headed paper dated 28th October 2003 addressed to
Mr Simon Eagle, SP Bell apparently signed by Gough and Copsey as follows:-

“Dear Simon,

As you aware Easier plc has today transferred £1,000, 000 one million
pounds) to your client account On receipt of these funds please transfer
£ 720, 000 in respect of the purchase of 1,250, 000 Duravest shares and
£280,000-in respect of 5 0, 000 apogee shares, the bank details you
already have. "

(e) A Declaration of Trust dated 3rd November 2003 in which Fulton confirm
that they hold 50,000 Apogee shares on trust for Easier. The Deed also indicates
that Easier can assign the declaration of Trust to Fulton in return for a payment
of £280,000.

When interviewed following arrest Mr Copsey suggested that Apo gee shares may have
been obtained from an entity known as the Maxima Investment Fund. Both Mr Gough '
and Mr Copsey suggest in interview that, irrespective of what happened to the £lm
originally supplied to Eagle, Apogee and Duravest shares to this value have been
provided to Easier,

The SFO wish to establish the following from the Transfer Agents who serve Apogee
and Duravest;-

(a) Whether Fulton Partners Ltd owned shares in Apogee and Duravest and if so
the date of acquisition and details of subsequent disposals.

(b) Whether Zeal Consultants Ltd PO Box 560, Z"d Floor, The Beatrice
Buttertield Buildings, Butterfield Square, Providenciales, Turks and Caicos
owned Duravest shares and if so whether there is any record of the transfer of
1,250,000 shares to Easier or Fulton on or about 24th October 2003.

(c) Whether the Maxima Investment Fund held Apogee shares in or around
October 2003 and if so whether there is any record of a transfer Easier or Fulton
on or about 24th October 2003.

(d) Details of all acquisitions and transfers of Apogee and Duravest shares
during the period September 2003 to July 2005.

 

 

 

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If shares are held by nominees it would obviously be useful if details are provided of the
beneficial owner if known.

The SFO also have a more general interest in the Maxima investment Fund. From the
£lm paid to SP Bell by Easier £115,473.44 was paid on 4 November 2003, according to
the relevant bank statement, to ‘Maxima lnv’. Easier’s draft balance sheet suggests that
the company has deposited the sum of £273,000 with Maxima Investment.

Amongst the paperwork in the possession of the SFO is a copy letter addressed'to
‘Brian Copsey General Partner Maxima Investment Fund’. The letter relates to a
payment made by a Katherine Quinn to Maxima and contains details of the following
bank account:-

South Trust Bank

1050 Palm Coast `Parkway South West
Palm Coast

Florida 32137

ABA NO 063 109 430
Account NBR 71 362 901

Account Name Maxima Investment Fund LLP

(Please note some of the numbers on the copy letter are difficult to read and the 6 in the
account number may in fact be 0 or 8)

Documents held by the South Trust bank should demonstrate the following:- 1

1. The degree of control exercised by Mr Copsey over the account,

2. Whether any other of the suspects are involved in the operation of the account '

and/or Maxima,

Any payment made by Maxima for the purchase of Apogee shares,

4. The extent to which Mr Copsey or the other suspects benefited personally from
the payments made to Maxima by SP bell and Easier.

.°’

Enguiries to be made.

1. To request that a designated officer of

Interwest Transfer Company,
1981 East 4800 South

Suite 100,

Salt Lake City,

Utah 4117

produce copies of the following documents:-

 

 

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4 » fee
(a) The shareholder list for Duravest for the period 1 September 2003 to 31 July

2005 including the details where known of the beneficial ownership of shares
held by nominees.

(b) Details of the acquisition and disposal of Duravest Shares by Fulton Partners
Ltd up to 31 July 2005.

(c) Confirmation of the number of Duravest shares, if any, held by The Maxima
Investment Fund as at lSt October 2003 and details of any subsequent transfer of
Duravest shares by Maxima to Easier or Fulton.

2. To request that a designated officer of

American Stock Transfer & Trust Company
59 Maiden Lane

New York, New York 10038

Tel (800) 937-5449

Tel (718) 921-8124

Fax (718) 236-2641

produce copies of the following documents:-

(a) The shareholder list for Apogee for the period l September 2003 to 31 July
2005 including the details where known of the beneficial ownership of shares
held by nominees.

(b) Details of the acquisition and disposal of Apogee shares by¥ulten~llartners_-_
Ltd up to 31 July 2005.

3. To request that a designated officer of the

South Trust Bank,

1050 Palm Coast Parkway South West,
Palm Coast,

Florida 32137,

produce copies of all account opening forms, bank statements, paid cheques, paying in
slips, credit vouchers, telegraphic transfers, swift transfers, records of inter account
transfers, records of payments out to any other account or bank, safe custody account
records, signature cards and references, customer information records and notes, bank
managers’ notes, or any other correspondence or information with respect to any matter
relevant to the investigation relating to any account held by Maxima Investment Fund
LLP with the bank from 1 January 2003 to date.

Admissibilitv of Evidence.

Section 117 Criminal Justice Act 2003 deals with the admissibility into evidence of
business records provided the following conditions are Satisfied:-

 

 

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(a) the document or the part containing the statement was created or
received by a person in the course of a trade, business, profession or other
occupation, or as the holder of a paid or unpaid office,

(b) the person who supplied the information contained in the statement
(the relevant person) had or may reasonably be supposed to have had
personal knowledge of the matters dealt with, and

(c) each'person (if any) through whom the information was supplied from
the relevant person to the person mentioned in paragraph (a) received the
information in the course of a trade, business, profession or other
occupation, or as the holder of a paid or unpaid office.

Assistance reguired.

l. That the above enquiries are made. lt is not perceived necessary for members of the
SFO or City of London Police to be present when the enquiries are made unless this is
required by or thought helpful by the US Authorities.

2. That such other enquiries are made, persons interviewed and exhibits secured as
appear to be necessary in the course of the investigation

3. That an indication be obtained of the preparedness of any witness to travel to the
United Kingdom to give evidence in person. In the event of such a person being
required their reasonable expenses Will be paid.

4. That signed and certified copies of any statements made and any documents or other
items secured during the course of the enquiries be permitted to transmitted to the
United Kingdom for use in the criminal investigation and any ancillary criminal
proceedings which may arise. lt is further requested that all documentation be sent
through diplomatic channels and marked for the attention of the author of this request.

Restriction on use of evidence obtained under a Letter of Request.

Under Section 9(1) of the Crime (International Co-operation) Act 2003 evidence
obtained from another jurisdiction by the use of a Letter of Request may not be used for
any purpose other than that specified in the request.

The Director requests the provision of documents and evidence for the purposes of his
investigations, for use as evidence in criminal proceedings and in any application to
restrain the assets of a defendant or to confiscate such property in the event of a
conviction

The Director of the Serious Fraud Office thanks in advance the Competant Judicial
Authorities of the United States of America and takes this opportunity of renewing to
them the assurance of his highest consideration ,

 

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Your faithfully,

Christopher Brown
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Annex A
Conspiracy to Defraud.
Common Law of England and Wales

Conspiracy to defraud is an offence against the common law of England and Wales. The
offence consists of an agreement between two or more persons to carry out a dishonest
course of conduct which would prejudice the rights of another person.

This offence carries a maximum sentence of 10 years imprisonment and/or a fine.
T_heft.
SECTIONS l - 7 THEFT ACT, 1968

The Statutory Offence of theft is defined in Sections 1 to 6 of the Act.
Section 7 of the Act provides that a person guilty of theft shall be liable to
imprisonment for a term not exceeding seven years.

Section 1.

v (1) A person is guilty of theft if he dishonestly appropriates property belonging to
another with the intention of permanently depriving the other of it; and "thief" and
"steal" shall be construed accordingly

(2) lt is immaterial whether the appropriation is made with a view to gain, or is
made for the thief's own benefit.

(3) The five following sections of this Act shall have effect as regards the
interpretation and operation of this section (and, except as otherwise provided by this
Act, shall apply only for purposes of this section).

Section 2.
(1) A person's appropriation of property belonging to another is not to be regarded
as dishonest -

if he appropriates the property in the belief that he has in law the right to deprive the
other of it, on behalf of himself or of a third person; or

if he appropriates the property in the belief that he would have the other's consent if the
other knew of the appropriation and the circumstances of it; or

(except where the property came to him as trustee or personal representative) if he
appropriates the property in the belief that the person to whom the property belongs
cannot be discovered by taking reasonable steps.

(2) A person's appropriation of property belonging to another may be dishonest
notwithstanding that he is willing to pay for the property.

 

 

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Section 3.

(1) Any assumption by a person of the rights of an owner amounts to an
appropriation, and this includes, where he has come by the property (innocently or not)
without stealing it, any later assumption of a right to it by keeping or dealing with it as

OWH€I`.

(2) Where property or a right or interest in property is or purports to be transferred
for value to a person acting in good faith, no later assumption by him of rights which he
believed himself to be acquiring shall, by reason of any defect in the transferor's title,
amount to theft of the property.

Section 4. .
(1) "Property" includes money and all other property, real or personal, including
things in action and other intangible property.

(2) ' A person cannot steal land, or things forming part of land and severed from it by
him or by his directions, except in the following cases, that is to say -

when he is a trustee or personal representative_, or is authorised by power of attorney, or
as liquidator of a company, or otherwise, to sell or dispose of land belonging to another,
and he appropriates the land or anything forming part of it by dealing with it in breach
of the confidence reposed in him; or

when he is not in possession of the land appropriates anything forming part of the land
by severing it or causing it to be severed, or after it has been severed; or

when, being in possession of the land under a tenancy, he appropriates the whole part of
any fixture or structure let to be used with the land, '

For the purposes of this subsection "land" does not include incorporeal hereditament;
"tenancy" means a tenancy_for years or any less period and includes an agreement for
such a tenancy, but a person who after the end of a tenancy remains in possession as
statutory tenant or otherwise is to be treated as having possession under the tenancy, and
"let" shall be construed accordingly.

(3) A person who picks mushrooms growing wild on any land, or who picks
flowers, fruit or foliage from a plant growing wild on any land, does not (although not
in possession of the land) steal what he picks, unless he does it for reward or for sale or
other commercial purpose.

For purposes of this subsection mushroom includes any fungus, and "plant" includes
any shrub or tree.

(4) Wild creatures, tamed or untamed, shall be regarded as property; but a person
cannot steal a wild creature not tamed nor ordinarily kept in captivity, or the carcase of
any such creature, unless either it has been reduced into possession by or on behalf of
another person and possession of it has not since been lost or abandoned, or another
person is in course of reducing it into possession.

Section 5
(1) Property shall be regarded as belonging to any person having possession or

 

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control of it, or having in it any proprietary right or interest (not being an equitable
interest arising only from an agreement to transfer or grant an interest).

(2) Where property is subject to a trust, the person to whom it belongs shall be
regarded as including any person having a right to enforce the trust, and an intention to
defeat the trust shall be regarded accordingly as an intention to deprive of the property
any person having that ri ght.

(3) Where a person received property from or on account of another, and is under an
obligation to the other to retain and deal with that property or its proceeds in a particular
way, the property or proceeds shall be regarded (as against him) as belonging to the
other.'I

(4) Where a person gets property by another's mistake, and is under obligation to _
make restoration (in whole or in part) of the property or its proceeds or of the value
thereof, then to the extent of that obligation the property or proceeds shall be regarded
(as against him) as belonging to the person entitled to restoration, and an intention not
to make restoration shall be regarded accordingly as an intention to deprive that person
of the property or proceeds.

(5) Property of a corporation sole shall be regarded as belonging to the corporation
notwithstanding a vacancy in the corporation.

Section 6

(1) A person appropriating property belonging to another without meaning the other
permanently to lose the thing itself is nevertheless to be regarded as having the intention
of permanently depriving the other of it if his intention is to treat the thing as his own to
dispose of regardless of the other's rights; and a borrowing or lending of it may amount
to so treating it if, but only if, the borrowing or lending is for a period and in
circumstances making it equivalent to an outright taking or disposal.

(2) Without prejudice to the generality of subsection (1) above, where a person
having possession or control (lawfully or not) of property belonging to another, parts
with the property under a condition as to its return which he may not be able to perform,
this (if done for purposes of his own and without the other's authority) amounts to
treating the Property as his own to dispose of regardless of the other's rights.

Section 7. as amended by the Criminal Justice Act 1991, S.26. A person guilty of theft
shall on conviction on Indictment be liable to imprisonment for a term not exceeding
seven years. ' `

There is no time limit on the institution of proceedings by the Crown for the Offence of
Thefi.

 

 

 

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TREATY WITH THE UNITED KINGDOl\/l Ol\l MUTUAL
LEGAL ASSISTANCE ON CRIMINAL MATTERS

MESSAGE

FROM

THE PRESIDENT OF THE UNITED STATES

TRANSM!TTING

THE TREATY BETWEEN THE GOVERNMENT OF` THE UNITED
STATES OF AMERICA AND THE COVERNMENT OF THE UNITED
KINGDOl\/f OF GREAT BRI'I`AIN AND NORTHERN IRELAND ON MU~
TUAL LEGAL ASSISTANCE IN CRIMINAL MATTERS, SIGNED AT
WASHINGTON ON JANUARY 6, 1994, TOGETHER WlTI-I A RELAT-
ED EXCHANGE OF NOTES SICNED THE SAME DATE

 

JANUARY 23, 1995.~-»Treaty was read the first time and, together with
the accompanying papers, referred to the Committee on Foreign Rela-
tions and ordered to be printed for the use of the Senate

UlS. GOVE`,RNMENT PRINTING OFF[CE
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LE'I"I`ER OF TRANSMITTAL

THE WHITE HousE, January 23, 1995.

To the Senate Of the United States.'

With a view to receiving the advice and consent of the Senate to
ratification, I transmit herewith the Treaty Between the Govern-
ment of the United States of America and the Government of the
United Kingdom of Great Britain and Northern Ireland on Mutual
Legal Assistance in Criminal Matters, signed at Washington on
January 6, 1994, with a related exchange of notes signed the same
date. Also transmitted for the information of the Senate is the re-
port of the Department of State with respect to this Treaty.

The Treaty is one of a series of modern mutual legal assistance
treaties being negotiated by the United States in order to counter
criminal activities more effectively. The Treaty should be an effec-
tive tool to assist in the prosecution of a wide variety of modern
criminals, including members of drug cartels, “white-collar crimi-
nals," and terrorists. The Treaty is self-executing. . ,

The Treaty provides for as broad range of cooperation in criminal
matters. Mutual assistance available under the Treaty includes: (1)
the taking of testimony or statements of witnesses; (2) the provi-
sion of documents, records, and evidence; (3) the service of legal
documents; (4) the location or identification of persons; (5) the exe-
cution of requests for searches and seizures; and (6) the provision
of assistance in proceedings relating to the forfeiture of the pro-
ceeds of crime and the collection of fines imposed as a sentence in
a criminal prosecution.

I recommend that the Senate give early and favorable consider-
ation to the Treaty, and related exchange of notes, and give its ad-
vice and consent to ratification '

WILLIAM J. CLINTON.

(llI)

 

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LETTER OF SUBMITTAL

DEPARTMENT OF STATE,
Washington, January 6, 1995

THE PREsIDENT,
The White House.

THE PRESIDENT: l have the honor to submit to you the Treaty be-
tween the Government of the United States of America and the
Government of the United Kingdom of Great Britain and Northern
lreland on Mutual Legal Assistance in Criminal Matters (the
“Treaty"), signed at Washington on January 6, 1994, together with
a related exchange of notes signed on the same date. I recommend
that the Treaty and the related exchange of notes be transmitted
to the Senate for its advice and consent to ratification

The Treaty covers mutual legal assistance in criminal matters
ln recent years, similar bilateral treaties have entered into force
with Argentina, the Bahamas, Canada, Italy, Mexico, Morocco, the
Netherlands, Spain, Switzerland, Thailand, Turkey, the United
Kingdom concerning the Cayman lslands, and Uruguay. Other
similar treaties have been signed and ratified by the United States
(but have not yet entered into force) with Belgium, Colombia, and
Jamaica. ln addition treaties with Nigeria and Panama have been
transmitted to the Senate and await Senate consideration This
Treaty contains many provisions similar to those in the other trea-
ties.

This Treaty will enhance our ability to investigate and prosecute

drug-related money laundering offenses. lt is designed to be self-
executing and will not reguire implementing legis atiog:

rticle 1 provides or mutual assis ance 1n proceedings", which
is defined in Article 19 to include any measure taken in connection
with the investigation or prosecution of criminal offenses, including
the freezing, seizure, and forfeiture of proceeds and instrumental-
ities of crime and the imposition of fines related to a criminal pros-
ecution.

The Treaty does not contain a provision limiting assistance to of-
fenses which are proscribed under the law of the Party from which
assistance is requested (the “Requested `Party"). As clarified in the
interpretative notes that accompany the Treaty, however, the Trea-
ty does not apply to anti-trust or competition investigation or pro-
ceedings underway at the time the Treaty Was signed. This ex-
change of notes also provides that the Central Authorities of the
Parties may, at a later date, provide assistance in such proceedings
as may be agreed in writing between the Parties.

(V)

 

 

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Article l further provides that assistance under the Treaty shall
include: taking the testimony or statements or persons; providing
documents, records, and evidence; serving documents; locating or
identifying persons; transferring persons in custody for testimony
or other purposes; executing requests for searches and seizures;
identifying tracing, freezing, seizing, and forfeiting the proceeds
and instrumentalities of crime and assistance in related proceed-
ings; and such other assistance as may be agreed between the
Central authorities

Article l explicitly states that the Treaty does not create rights
in private parties to obtain suppress or exclude evidence, or to im-
pede the execution of a request.

Article 2 provides for the establishment of Central Authorities
and defines the Central Authorities for purposes of the Treaty. For
the United States, the Central Authority is the Attorney General
or a person designated by the Attorney General. For the United
Kingdom, the Central Authority is the Secretary of State for the
Home Department or the Secretary’s designee. The article provides
that requests under the Treaty shall be made directly between the
Central Authorities.

Article 3 sets forth the circumstances under which a Party may
deny assistance under the Treaty, including requests related to cer-
tain military offenses offenses of a political character, and requests
relating to an offender who, if proceeded against in the Requested
Party, would be entitled to be discharged on grounds of a previous
acquittal or conviction In addition a Requested Party may also
refuse assistance, if, in its view, the request, if granted, would im-
pair its sovereignty, security, or other essential interests or would
be contrary to important public policy. As clarified in the interpre-
tative notes accompanying the Treaty, the limitation based on “im-
portant public policy" grounds would include a Requested Party’s
policy of opposing the exercise of jurisdiction which, in its view, is
extraterritorial and objectionable.

Before denying assistance, the Central Authority of the Re-
quested State is required to consult with its counterpart in the Re-
questing State to consider whether assistance can be given subject
to such conditions it deems necessary, If the Requesting State ac-
cepts assistance subject to conditions it shall comply with the con-
ditions.

Article 4 prescribes the form and content of written requests
under the Treaty, specifying in detail the information required in
each case. The article specifies further information to be provided
to the extent necessary and possible to assist in locating individ-
uals and effecting particular types of assistance.

Article 5 provides that a Request Party shall take whatever steps
it deems necessary to give effect to requests from the other Party.
Courts in the Requested State are empowered to issue subpoenas,
search warrants or other order orders necessary to execute such
re uests.

rticle 5 further states that re uests be executed in accordance
With the laws of the Requested tate unless the Treaty provides
otherwise The method of execution specified in the request is to be
followed to the extent that it is not incompatible With the laws and
practices of the Requested Party. lf the Central Authority of the

 

 

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Requested Party determines that execution of the request would
interfere with ongoing proceedings or prejudice the safety of any
person in its territory, it may postpone execution or, after consulta-
tions with the Requesting Party. impose conditions on such execu-
tion lf the Requesting Party accepts assistance subject to such con-
ditions, it shall comply with them.

Under Article 5, the Central Authority of the Requested Party
shall promptly inform its counterpart in the Requesting Party of
the outcome of the execution of a request. If a request is denied,
a Central Authority shall inform its counterpart of the reasons for
such denial.

Article 6 apportions between the two States the costs incurred in
executing a request. Generally, each State shall bear the expenses
incurred within its territory of executing a request.

Article 7 establishes procedures both for ensuring the confiden-
tiality of requests and their contents Upon request, the Requested
Party shall keep confidential any information that might indicate
that a request has been made or responded to. However, if a re-
quest cannot be executed without breaching confidentiality, the Re-
quested State must inform the Requesting State, so that the Re-
questing State may determine whether to withdraw the request in
order to maintain confidentialityl Article 7 further obliges the Re-
questing Party not to use or disclose any information or evidence
obtained under the treaty for purposes unrelated to the proceedings
stated in the request without the prior consent of the Requested
Party. ln the interpretative notes the Parties recognize that these
prohibitions will not prohibit a Requesting Party from disclosing
such information to the extent there is an obligation to do so under
that Party`S Constitution or law. This last clarification was pro-
vided to ensure that the United States and the United Kingdom
authorities would be in a position to make available exculpatory in-
formation to criminal defendants

Article 8 provides that the Requested Party may compel, if nec-
essary, the taking of testimony or production of documents in its
territory on behalf of the Requesting Party. ln the event that a per~
son whose testimony or evidence is being taken asserts a claim of
immunity, incapacity, or privilege under the laws of the Requesting
Party, the testimony or evidence shall be taken and the claim made
known to the Requesting Party for resolution by its authorities

Article 8 also requires the_Requested Party, upon request, to in-
form the Requesting Party in advance of the date and place of the
taking of testimony. The Requested Party must also permit the
presence of any persons specified in the request (such as the ac-
cused, counsel for the accused, or other interested person) and to
permit such persons to question the person whose testimony is
being taken through a legal representative qualified to appear be-
fore the courts of the Requested Party. Finally, this article provides
a mechanism for authentication of documentary evidence produced
pursuant to this article and provides that no further authentication
or certification shall be necessary in order for such information to
be admissible in evidence in proceedings in the Requesting Party.

Article 9 requires that the Requested Party provide the Request-
ing Party with copies of publicly available records of government
departments and agencies The Requested Party may further pro-

 

 

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vide copies of other records or information in the possession of a
government department or agency but not publicly available to the
same extent and under the same conditions as it Would to its own
law enforcement or judicial authorities The article requires official
authentication of documents furnished, using forms appended to
the Treaty and confirms their admissibility in evidence in the Re~
questing Party if so authenticated

Article 10 provides a mechanism for a Requesting Party to invite
the voluntary appearance and testimony in its territory of a person
located in the Requested Party. In such a case, the Central Author»
ity of the Requested Party is required to invite the person to ap-
pear and promptly inform the Central Authority of the Requesting
Party of the person’s response. The request may state that the Re-
questing Party will assure the person shall not be subject to service
of process or be detained or subjected to restriction of personal lib-
erty, by reason of any acts or convictions which preceded his depar-
ture from the territory of the Requested Party. This safe conduct
shall cease fifteen days after the Central Authority of the Request-
ing Party has notified its counterpart that the person’s presence is
no longer required, or if the person has left the territory of the Re-
questing Party and voluntarily returns to it.

Article 11 provides for the voluntary transfer to one Party of a
person in custody in the other Party, for purposes of assistance
under the Treaty, provided that the person in question and both
Parties agree. The article establishes the express authority and the
obligation for the Requesting Party to maintain the person in cus-
tody unless otherwise authorized by the Requested Party. lt fur-
ther specifies the requirements for ensuring the person's safety and
return to the Requested Party.

Article 12 provides that the Requested Party shall use its best
efforts to ascertain the location or identity of persons specified in
a request and shall promptly notify the Requesting Party of the re-
sults of its inquiries

Under Article 13, a Requested Party shall, to the extent possible,
effect service of process of any document requested under the Trea-
ty, including subpoenas or other process requiring the appearance
of any person before any authority or tribunal in the territory of
the Requesting Party. Such service, however, does not impose an
obligation under the law of the Requested Party to comply with
such process ~The article further requires that any request for the
service of a document requiring a person to appear in the territory
of the Requesting Party be transmitted a reasonable time before
the scheduled appearance The Requested Party is required to re-
turn proof of service.

Article 14 obligates each Party to execute requests for search,
seizure, and delivery of any article to the Requesting Party if the
request includes the information justifying such action under the
laws of the Requested Party and it is carried out in accordance
with the laws of that Party. The Requested Party may refuse such
a request if it relates to conduct for which its own powers of search
and seizure would not be exercisable in a similar circumstance The
article further provides for the authentication and certification of
evidence delivered under this article and provides that the Central

 

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Authority of the Requested Party may impose conditions on trans-
fer to protect third party interests in the propertyl

Article 15 obliges the Requesting Party to return any documents
or articles furnished to it under this treaty unless the Central Au-
thority waives such return

Article 16 obligates the Parties to assist each other in asset for-
feiture proceedings Specifically, the Parties agree to assist each
other in proceedings involving the identification tracing, freezing,
seizure, or forfeiture of the proceeds and instrumentalities of crime
and to assist each other in relation to proceedings involving the im-
position of fines related to a criminal prosecution Under this arti-
cle, a Requested Party may transfer forfeited assets or the proceeds
of their sale to the other Party to the extent permitted by the
former’s domestic law, upon such terms as may be agreed.

Article 17 provides that assistance and procedures provided in
this Treaty shall not prevent the Parties from providing assistance
to each other through the provisions of other international agree-
ments national laws or any other arrangement, agreement, or
practice applicable between their law enforcement agencies

Article 18 provides that the Parties or their Central Authorities
shall consult promptly at the request of either, concerning the im-
plementation of this'Treaty. Article 18 also contains novel consult-
ative procedures to enable the Parties to have first recourse to the
Treaty, with respect to any matter for Which assistance could be
granted under the Treaty, prior to the enforcement of a "compul-
sory measure" requiring an action to be performed by a person lo-
cated in the territory of the other Party. The term “compulsory
measure" is described with greater specificity in the interpretative
notes Under the consultative mechanisms for dealing with the en-
forcement of compulsory measures if a Party is aware that its au-
thorities are intending to take such compulsory measures its
Central Authority shall inform the other Central Authority, Who
may request consultations Should a Central Authority learn that
such measures may be taken in its territory, it may also request
consultations Ultimately, should consultations fail to resolve the
matter, cause unreasonable delay, or jeopardize the successful com-
pletion of a proceeding enforcement of the compulsory measure is
not foreclosed ln such instance the Central Authority of the Party
taking such action may give written notice to the other Central Au-
thority of that circumstance Article 18 finally provides for a gen-
eral obligation of the parties to exercise moderation and restraint,
even when the Parties’ consultation obligations under this article
are satisfied

ln addition to the consultative mechanism for compulsory meas-
ures described above, the interpretative notes commit the U.S. De-
partment of Justice, on behalf of the United States Government, to
take certain specified practical measures to reduce the number of
instances in which a conflict of laws policies or national interests
may arise. S ecifically, the notes state that the Department of Jus-
tice shall: (1 lnstruct all federal prosecutors not to seek compul-
sory measures as referred to in Article 18(2) with respect to any
matter for which assistance could be granted under the Treaty un-
less the U.S. Central Authority has concluded that the consultative
mechanisms in Article 18 have been satisfied; (2) instruct all fed-

 

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eral prosecutors not to enforce any compulsory measures as re-
ferred to in Article 18(2), with respect to any matter for which as-
sistance could be granted under the Treaty unless the U.S. Central
Authority has concluded that the consultative mechanisms in Arti-
cle 18 have been satisfied; and (3) undertake to discourage the
issue of compulsory measures by other U.S. Government agencies
for evidence located in the United Kingdom in any matter covered
by the Treaty by advising all such agencies not to seek such proc-
ess without consultation and coordination with the United States
Central Authority. z

Article 19 defines the term "proceedings", thus setting forth the
matters for which the Parties will provide assistance under the
Treaty, As noted above, the term “proceedings" means proceedings
related to criminal matters and includes any measure or step taken
in connection with the investigation or prosecution of criminal of-
fenses including the freezing, seizure or forfeiture of the proceeds
and instrumentalities of crime, and the imposition of fines related
to a criminal prosecution Article 19 further provides that the
Central Authorities may at their discretion treat as proceedings
such hearings before or investigations by any court, administrative
agency or administrative tribunal with respect to the imposition of
civil or administrative sanctions as may be agreed in writing be-
tween the Parties. `

Article 20 sets forth the territorial application of the Treaty.
With respect to the United Kingdom, the Treaty shall apply to
England, Wales Scotland, Northern lreland, the lsle of Man, Chan-
nel lslands, and to any other territory for whose international rela-
tions the United Kingdom is responsible and to which this Treaty
shall have been extended by agreement between the Parties.

Article 21 provides that the treaty shall be ratified and shall
enter into force upon an exchange of instruments of ratification

Article 22 provides for termination to be effective six months
after written notice of termination is given by one party to the
other Party.

A Technical Analysis explaining in detail the provisions of the
Treaty is being prepared by the United States negotiating delega-
tion consisting of representatives from the Departments of Justice
and State, and will be transmitted separately to the Senate Com-
mittee on Foreign Relations.

The Department of Justice joins the Department of State in fa-
voring approval of this Treaty and related exchange of notes by the
Senate as soon as possible

Respectfully submitted,

WARREN CHRIsToPHER.

 

 

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Article 1 $copo of Alliltnnc¢
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Article 10 P¢rlonll Appe\t\nce in the T¢!ritory of the
Requesting Party
Article 11 Tronlfor of Porcons in Custcdy
Article 11 Locltion or ldcntificltion of Percons
- Article 13 S¢tvico of Documentl
' Article 14 Sc\tch and Scizuc¢
Article 15 h¢tuxn o! Documentc and Articl¢l
Article 16 As¢iltnnco in !orfeitur¢ Proc¢¢dinqt
Article 17 Compltibility with other Arr\nqements
Article la Concultltion
Article 19 Definitionl
Article 20 Tortito:ill Application
Article 21 R\ti£icltion and !ntry into ¥orc¢
Article 22 Terninltion

 

 

 

 

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OI GIIAT IIIIAII AID IOIIIIRI
Ol MUTUAL L!GIL ASSIS!AICI II CIIIKIAL MATTERS

The Gove:nment of the united states ot America and The
Governmsnt of the United Kingdom of Great Britain and Northern
Ireland,

Desirinq to improve the effectiveness of the law enforcement
authorities of both countries in the investigation, prosecution,
and combatting of crime through cooperation and mutual legal
assistance in criminal matters,

Rea£firming their determination to enhance assistance in the
fight against crime aa set out in the Agreanent Concernlnq the
Investigation ot Drug Trafflckiog Offencea and the Seizure and
ror¢eitura of Proceeds and Inetrunental$ties of Druq Tra¢ficklng,
done at London February 9, 1968.

Have agreed as follows:

 

 

 

 

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AlT!CLl 1
Scope of Assistance
1. The Partiea shall provide mutual assistance, in
accordance with the provisions of this Treaty, for the purpose of
proceedings as defined in Article 19 of this Treaty.
2. Assistance shall include:
(a) taking the testimony or statements of persona;
(b) providing documents, records, and evidence;
(c) serving dccunents;
(d) locating or identifying persons;
(e) transferring persons in custody for testimony
(or other purposes);
(£) executing requests for searches and seizures;
(9) identifying, tracing, freezing, aeising, and
forfeiting the proceeds and instrumentalities of
crime and assistance in related proceedings; and
(h) such other assistance as may be agreed between
Central Authorities.
3. This Treaty is intended solely for mutual legsiy
assistance between the Parties. The provisions of this Treaty
shall not give rise to a right on the part of any private PBFF°H

to obtain, auppress, or exclude any ovidence, or to impede the

execution of s request.

 

 

 

 

 

 

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ARTICLI~Z
Central Authorities

l. Central Authorities shall be established by both
Parties. ` `

2. For the united States of America, the Central Authority
shall be the Attorney General or a person or agency designated by
him, For the united Kingdoa, the Central Authority shall be the
Secretary of State for the Home Department or a person or agency
designated by him,

3. Requests under this Treaty shall be made by the Central
Authority of the Requesting party to the Central Authority of the
Requested Party.

1. The Central Authorities shall communicate directly with ‘

one another for the purposes of this Treaty.

ARTICLI 3

Limitations on Assistance

l. The Central Authority of the Requested Party may refuse
assistance if:
(a) the Requested Party is of the opinion that the
request, if granted, would impair its sovereignty,
security, or other essential interests or would be

contrary to important public policy;

 

 

 

 

 

 

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(b) the request relates to an offender who, if
proceeded against in the Requested Party for the
offence for which assistance is requested, would
be entitled to be discharged on the grounds of a
previous acquittal or cooviction; or

(c) the request relates to an offence that is regarded
by the Requested party as:

(i) an offence of a political characters or

(ii) an offence under military law of the
Requested Party which is not also an offence
under the ordinary criminal law of the
Requested Party.

2. Before denying assistance pursuant to this Article, the
Central Authority of the Requested Party shall consult with the
Central Authority of the Requesting Party to consider whether
assistance can be given subject to such conditions as it deems
necessary. lt the Requesting Party accepts assistance subject to

these conditions, it shall comply with the conditions.

AZIICLS 4

!or- and Contents of sequests

l. Requeats shall he submitted in writing. However, in
urgent circumstances, the request may be made orally hut shall be

confirmed in writing within ten days theresfter.

 

 

 

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2. The request shall include the followinq:

(a) the sane or the authority conducting the
proceedings to which the request relates;

(b) the subject latter and nature of the proceedings
for the purposes of which the request is nede;

(c) a summary or the information giving rise to the
requeat;

(d) a description of the evidence or information or
other assistance soughtx and

(e) the purpose for which the evidence or information
or other assistance is sought.

3. To the extent necessary and possible, a request shall
also include:

(a) the identity, date of birth and location of any
person fron whom evidence is sought;

(b) the identity, date of birth and location of a
person to be served, that person's relationship to
the proceedings, and the manner in which the
service ia to be made;

(c) available information on the identity and
whereabouts of a person to be located;

(d) a precise description of the place or person to be
searched and of the articles to be seised;

(¢) a description of the manner in which any testimony
or statenent is to be taken and recorded;

(£) a list of questions to be asked of a witness:

 

 

 

 

 

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(o) a description or any particular procedures to ve
followed in executing the request;

(h) information as to the allowances and expenses to

- which a person asked to appear in the territory of
the lequestinq rarty will be entitled:

(i) any other information which lay be brought to the
attention of the lequested rarty to facilitate its
execution of the requests and

(:\) requirements for confidentiality.

4. The lequested Party nay ask the lequesting Party to
provide any further inforeetion which appears to the Requested
Party to be necessary for the purpose of executing the raguest.

mall 5
vacation of queests

l. As qowered by this Treaty or by national law, or in
accordance with ita national practicel the aequested Farty shall
take whatever steps it dee¢s ne¢¢ssary to give effect to requests
received froe the Requesting Farty. m courts of the Requested
party shall have authority to issue subpoenas, search warrants,

 

or other orders ry to te the .. _ t.

2. when execution of the request requires judicial or
administrative action, the request shall he presented to the
appropriate authority by the persons appointed by the Central
Authority of the lequeated rarty.

 

 

 

 

 

 

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3. The eethod of execution specified in the request shall
be followed to the extent that it is not incompatible with the
laws and practices of the Requested Party.

4. lt the Central Authority of the Requested Farty
determines that execution of the request would interfere with
ongoing proceedings or prejudice.the safety of any person in the
territory of the Requested Party, the Central Authority of that
party nay postpone execution, or lake execution subject to
conditions determined necessary after consultation with the
Requesting Party. lf the Requesting Party accepts the assistance
subject to the conditions, it shall comply with the conditions.

5. The Central Authority of the Requested Party shall
facilitate the participation in the execution of the request of
such persons as are specified in the request.

6. ‘rhs Central Authority of the Requested Party may ask the
Central Authority of the Requesting Party to provide information
in such form as may be necessary to enable it to execute the
request or to undertake any steps which lsay be necessary under
the laws and practices of the Requested Party in order to give
effect to the request received from the lequestinq Party.

7. The Central Authority of the Requesting Party shall
infore the Central Authority of the Requested rarty promptly of
any circuestances which ashe it inappropriate to proceed with the
execution of the request or which require nodification of the
action requested.

 

 

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s. °The central-authority of the sequested terty shall
prosptly infore the Central Authority of the lequestinp rsrty of
the outcoee of the execution of the request. lt the request is
denied, the Central Authority of the lequested rerty shall infor-
the Central Authority of the reasons for the denisl.

AIIZCLI 5
Colts

l. The Requested Party shall, subject to paragraph (2) of
this Article, pay all costs relating to the execution of the
request, except for the fees of expert witnesses and the
allowances and expenses related to the travel of persons pursuant
to Articlas lo and ll ot this Treaty, which fees, allowances, and
expenses shall be paid by the lequesting rarty.

2. if the Central Authority of the Requested Party noti£ies
the Central Authority of the lequesting rarty that execution of
the request eight require costs or other resources of an
extraordinary nsture, or if it otherwise requests, the Central
Authorities shall consult with a view to reaching agreement on

the conditions under which the request shall he executed and the

lanner in which costs shall he allocated.

 

 

 

 

 

 

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AIT!CLI 7
Confidentiality and Lieitations on Uee

l. The Requested Party shall, upon request, keep
confidential any inforeation which night indicate that s request

has been made or responded to. If the request cannot be executed

without breaching confidentiality, the Requested Party shall so
inform the Requesting Fsrty, which shall then determine the
extent to which it wishes the request to be executed.

2. The Requesting Party shall not usa or disclose any
information or evidence obtained under this Treaty for any
purposes other then for the proceedings stated in the request
without the prior consent of the Requested Party.

3. unless otherwise indicated by the Requested Party when
executing the rcquest, information or evidenco, the contents of
which have been disclosed in s public judicial or administrative

hearing related to the request, may thereafter be used for any

PU!POI..

ARTICLI 9

Taking Testilony end Producing Evidence
in the ferritory of the lequested Party

l. n person in the territory of the Requested party from
whom evidence is requested pursuant to this Treaty may be

compelled, if necessary, to appear in order to testify or produce

 

 

 

 

 

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documents, records, or articles of evidence hy subpoena or such
other method as may be permitted under the law of the Requested
?erty.

2. h person requested to testify or to produce documentary
information cr articles in tha territory of the Requested Party
nay he compelled to do so in accordance with the requirements of
the law of the lequested Party. lf such a person asserts a claim
of immunity, incapacity or privilege under the laws of the
Requesting Party, the evidence shall nonetheless be taken and the
claim be made known to the Requesting Party for resolution by the
authorities of that Party.

1- upon request, the Central Authority of the Requested
Party shell furnish information in advance about the date and
place of the taking of the evidence pursuant to this Article.

4. The Requested rarty shall allow persons specified in the
request to ask questions of the person whose testimony or
evidence is being taken, through a legal representative qualified
to appear before the courts of the Requested Farty.

5. Documentary information produced pursuant to this
Article may be authenticated by the attestation of a person
conpetent to do so in the form indicated in Appendix A to his
Treaty. No further authentication or certification shall be
necessary in order for such documentary information to be

admissible in evidence in proceedings in the territory of the

Requesting Party. Documentary information produced pursuant to

 

 

 

 

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this Article may also be authenticated pursuant to such other

form or manner as nay be prescribed froe tile to time by either

Central Authority.

AIT!CLI 9
lecords of devers-eat hgencies

l. The Requested ¥arty shall provide the Requesting Party
with copies of publicly available records of government
departments and agencies of the Requested Party.

2. The Requested Farty nay provide a copy of any record or
information in the possession of a government department or
agency but not publicly available to the same extent and on the
same conditions as to its own law enforcement or judicial
authorities. The Requested ?arty may refuse a request pursuant
to this paragraph entirely or in psrt.

3. official records provided pursuant to this Article shall
be authenticated by the Central Authority of the Requested Party
in the manner indicated in Appendix B to this Treaty. No further
authentication or certification shell be necessary in order for
such records to be admissible in evidence in proceedings in the
territory of the Requesting Fsrty. Records provided pursuant to
this Article may also be authenticated pursuant to such other
form or manner as nay be prescribed from time to time by either

Central Authority.

 

 

 

 

 

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AITTCLI 10
personal nppearanoe is the Territory of the Requesting party

l. h request under this Treaty may seek assistance in
facilitating the appearance of any person in the territory of the
Requesting party for the purpose of giving evidence before a
court or of being identified in, or otherwise by his presence
essistinq. any proceedinga.

2. the Central Authority of the Requested Party shall:

(a) ask a person whose voluntary appearance in the
territory of the Requesting Party is desired
whether he agrees to appear; and

(b) promptly inform the Central Authority of the
Requesting Party of his answer.

3. If the Central Authority of the Requesting ¥arty so
indicates, a person agreeing to appear in the territory of the
Requesting Party pursuant to this article shell not be subject to
service of process, or be detained or subjected to any
restriction of personal liberty, by reason of sny acts or
convictions which preceded his departure from the territory of
the Requested Party.

a. The safe conduct provided for by this Article shall
cease fifteen days after the Central Authority of the Requesting

Party has notified the Central Authority of the Requested Party

that the person's presence is no longer requirad, or if the

 

 

 

 

 

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person has left the territory of the leguesting !arty and
voluntarily returned to it.

AITICZI 11
!rens¢er of lessees in Cnstody

l. h person in the custody of one Farty whose presence in
the territory of the other Farty is sought for the purpose of
providing assistance under this Treaty shall be transferred for
that purpose if the person and both Parties consent.

2. !or the purposes of this Article:

(a) the leguesting Ferty shall be responsible for the
safety of the person transferred and shall have
the authority and the obligation to keep the
person transferred in custody unless otherwise
authorised by the leguested Fsrty;

(b) the Requesting Party shall return the person
transferred to the custody of the Requested Party
as soon as circumstances permit and in any event
no later than the date upon which he would have
been released frol custody in the territory of the
Requested Farty, unless otherwise agreed by both

Central Authorities and the person transferred; and

 

 

 

 

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(c) the lequesting party shall not require the
Requested Party to initiate extradition
proceedings for the return of the person

transferred.

AIIICLl 12
Location or Identification of rersons

l. The leguestad Party shall make best efforts to ascertain
the location or identity of persons specified in the reguest.

3. The Central Authority of the Requested Party shall
promptly communicate the results of its inquiries to the Central

Authority of the Requesting Party.

ARTICLI 13
service of Docunents

1. The Requested Party shall, as far as possibla, effect
service of any document relating to or forming part of any
request for assistance properly made pursuant to this Treaty by
the Requesting Farty, including any subpoena or other process
requiring the appearance of any person before any authority or
tribunal in the territory of the Requesting Farty.

2. Sarvice of any subpoena or other process by virtue 0£

Plrlqraph (1) of this Article shall not inpoae any obligation

under the lau of the Requested Party to comply with it.

 

 

 

 

 

 

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3. the Central Authority of the Requesting Party shall
transeit any request for the service of a doounent requiring the
appearance of a person before an authority in the lequesting
party a reasonable tiae before the scheduled appearance.

a. the sequested rarty shall return a proof of service in

the manner specified in the request.

nlr!cbl 14
Seerch and Seisure

l. The Requested Ysrty shall execute a request for the
search, seizure and delivery of any article to the Requesting
rarty if the request includes the infer-ation justifying such
action winn cna im or cna requested party ana it n emma
out in accordance with the laws of that Party.

2. The requested party say refuse a request if it relates
to conduct in respect of which powers of search and seizure would
not be exercisable in the territory of the Requested Party in
sinilar circunetancss.

3- lvery official who has custody of a raised article shall
certify the continuity of custody. the identity of the article
and the integrity of its condition in the fore indicated in
Appendix C to this treaty. lo further authentication or
certification shall be necessary in order to establish these
letters in proceedings in the territory of the lequesting rarty.
certification under this Article lay also he provided in any

 

 

 

 

 

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other torn or nanner ea say be prescribed free tile to tile by
either Central authority.

4. The Central Authority of the legoested ¥arty say require
that the Requesting Party agree to tarls and conditions which the
Requested Party lay deal necessary to protect third party

interests in the item to be trensferred.

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letor'n of noe-ats end Articles

The Central Authority of the Requesting ?arty shall return
any documents or articles furnished to it in the execution of a
request under this Treaty as soon as is practicable unless the
Central Authority of the Requested Party waives the return of the

documents or articles.

mm 16
Assistence is forfeiture Proceedinga

l. The Parties shall assist each other in proceedings
involving the identification. tracing, freezing, seizure or
forfeiture of the proceeds and instrumentalities of crine and in
relation to proceedings involving the ioposition of fines related
to a criminal prosecution.

2. If the Central Authority of one Party becomes aware that

proceeds or instrumentalities are located in the territory of the

 

 

 

 

 

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other Party and may be liable to freezing, seizure or forfeiture
under the laws of that Party, it may so inform the Central
Authority of the other Party. If the Party so notified has
jurisdiction. this inforaation may be presented to its
authorities for a determination whether any action is
appropriate. The said authorities shall issue their decision in
accordance with the laws of their country and the Central
Authority of that country shall ensure that the other rarty is
aware of the action tahen.

3. A Requested Party in control of forfeited proceeds or
instrumentalities shell dispose of them according to its laws.
Either Party may transfer forfeited assets or the proceeds of
their sale to the other Party to the extent permitted by their

respective laws, upon such terms as say be agreed.

mla-8 17
Compatibility with other £rraogemeots

Anaistance and procedures set forth in this Treaty shall not
Prevent either of the Parties from granting assistance to the
other Party through the provisions of other international
agreements to which it may be a party. or through the provisions
of its national iaws. The Farties may also provide assistance
Pursuant to any arrangement, agreement, or practice which may be

lpplicable between the law enforcement agencies of the ?arties.

 

 

 

 

 

 

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ll?ICLl 18
Consultation

` l. The Parties, or Central Authoritias, shall consult
promptly, at the request of either, concerning the implementation
of this Treaty either generally or in relation to a particular
case. Such consultation may in particular take place if, in the
opinion of either Party or Central Authority, the expenses or
other resources required for the implementation of this Treaty
are of an extraordinary nature, or if either Farty has rights or
obligations under another bilateral or multilateral agreement
relating to the subject matter of this Treaty.

2. with respect to any matter for which assistance could be
granted under this Treaty, neither Party shall enforce any
compulsory measure requiring an action to be performed by any
person located in the territory of the other Party. unless the
§arty proposing such enforcement has first exhausted the
procedures established in paragraphs (3) and (a) of this Article.

3. If a Party is aware that its authorities are intending
to take measures referred to in paragraph (2) of this Article,
ita Central Authority shall inform the other Central Authority,
who may request consultations. lf the other Party is aware of or
considers that the authorities of the first Party have taken or
are about to take any such measures, its Central Authority may

request consultations. Thereaftar, the Central Authorities shall

 

 

 

 

 

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consult with a view to determining whether the assistance sought

can be provided under this Treaty, or otherwise resolving the

matter.
4. Where consultations fail to resolve the matter, or

unreasonable delay may be jeopardizing the successful completion
of a proceeding, either Central Authority may give the other
written notice to that effect.

5. Unless otherwise agreed by the Parties, the obligations
under paragraphs (2), (3) and (4) of this Article shall have been
fulfilled 21 days alter receipt of this written notice, provided
that this is not less than 60 days after receipt of the request
referred to in paragraph (3) above.

6. Even in those cases in which the Fsrties‘ obligations
under this Article have been fulfilled, each Party shall continue

_to exercise moderation and restraint.

ARTICLI 19
Detinitions

l. For the purposes of this Treaty, 'proceedings' means
proceedings related to criminal.matters and includes any measure
or step taken in connection with the investigation or prosecution
of criminal ottencea, including the freezing, seizure or
forfeiture of the proceeds and instrumentalities of crime, and _

the imposition ot fines related to s criminal prosecution.

 

 

 

 

 

 

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3. In addition, the Central Authorities say at their
discretion treat as proceedings for the purpose of this Treaty
such hearings before or investigations by any court,
administrative agency or administrative tribunal with respect to
the imposition of civil or administrative sanctions as lay be

agreed in writing between the Partiea.

ARTICLI 20
Territorial Appiicetion

This Treaty shall spply:
1. in relation to the United Kingdom:
(a) to England and Wales. Scotland, and Northern
Irelend; and
(b) to the Isle of Man, Channel Islands and to any
other territory for whose international relations
the United Kingdom is responsible and to which
this Treaty shall have been extended by agreement
between the Parties, subject to any technical
modifications agreed by the Parties and to either
Party being able to terminate such extension by
giving six months written notice to the other
through the diplomatic channel; end

2. to the united States of Americs.

 

 

 

 

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AITXCLI 21
latification end lmtry into torce

l. This Treaty shall be ratified, and the instruments of
ratification shall be exchanged at London as soon es possible.

2. This Treaty shall enter into force upon the exchange of

instruments of ratification.

Alrxczs 22
Termination

zither Party may terminate this Treaty by means of a written
notice to the other Farty. Terminstion shall take effect six

months following the date of notification,

IN wITNEsS HHERBO!, the undersigned, being duly authorized

by their respective Governments, have signed this Treaty.

DONB in duplicate at washington this sixth day of January,

1994.

¥OR THE GOVERNH£NT O! THE FOR THE GGVBRNHBHT O! THI

us STATES RICA: UNITED KINGD°I OF GRIAT BRITAIN
AND HORTH¢RI IR!LAID:

/LMM.

 

 

 

 

 

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punishment for false statement or false attestation that l am

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cmp °, by ame o usineas rom w c ocumen s are pro uc

ana that my or¢ic£ai title is ___15¥¥¥;!;1_1¥¥I;,___. z ¢u¢tvar

state that each of the records attached hereto is the original

or a duplicate of the original of records in thh custody

of ana o us ness rom w c ocumen s are pro uc
further state that:

A) such records were made at or near the time of the
occurrence of the matters set forth, by (or from
information transmitted by) s person with knowledge
of those mstters;

B) such records were kept in the course of a regularly
conducted business activity;

C) the business activity made the records as a regular
practice; and

D) if any of such records is not the original, such

record is a duplicate of the original.

__-_°__"'TSYEETEE?¥T'__“_"' '_`“_'_TB¥¥?T°”"__'°

Sworn to or affirmed before me, l_. -
(Bame)

» this _ day

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thEI!Y P“EIIC, 5133;€1|! 012;¢.!, .Ec.,

of _________., 199__.

 

 

 

 

 

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Appendix n
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punishment for false statement or attestation that my position

 

with the Government of
(Country)

is and that in that position l am

 

(O£ficial Title)

 

authorized by the law of
(Country)

to attest that the documents attached and described below are

true and accurate copies of original official records which are

 

recorded or filed in
(same of Office or Agency)

which is a government office or agency of the Government of

 

(Country)

Description of Documents:

 

(Signature)

 

(Title)

 

(Date)

 

 

 

 

 

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hppendix C
ATTISIATIOI NITH IISIIC! 10 SIIXID AITICLIS

I, , attest on penalty of criminal
(!ame)

punishment for false statement or attestation that my position

 

 

with the Government of
(Country)
is . l received custody of the articles
(Title)
listed below from on . at
(Nane of Person) (Date)

. I relinquished custody of the
(Place)

articles listed below to
(Rame of ¥erson)

on at
(Date) (Place)
in the same condition as when l received them (or if different,

as noted below).

Description of Articles: _

Changes in condition while in my custody:

 

official Seal
. (Signature)

 

(Title)

 

(Place)

 

(Date)

 

 

 

 

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ocrAn'm:Nt oF starr
wasulucron
Janusry 6, 1994

Excellency:
I have the honor to acknowledge receipt of Your

Excellency‘s Note of today‘e date, which reads as follows:

'I have the honour to reler to the Treaty between

the Governsent of the united states of America and the
Government of the United Kingdoe of Gteat Britain and
Northern lreland on Hutual Lagal Assistance in
Crisinal Hatters (the Treaty) signed todsy. ll have
the honour to propose that the Treaty be applied in
accordance with the provisions sat out in this Hote._

(s) The ters ’isportant public policy‘ in
Article J(ll(s) would include a Requested Farty‘s
policy of opposing the exercise ot jurisdiction
which in its view is extraterritorial end
objectionable.

(b) Article 3(1)(b) shall not street the
availability ot assistance in respect of other
participants in the offense for which assistance
is requested who would not be entitled to be
discharged on tha grounds ot previous acquittal

or conviction.

Bis lscellency
Sir Robin H. Ranwlck, K.C.H.G.,
Asbsseador of the United xingdos

of Great Britain and Northern xraland.

 

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_ 2 -

(c) Article 7(2) shall not preclude the use
or disclosure ot inter-ation to the extent that
there is an obligation to do so under the
Constitution or law of the lequesting rarty in a
crieinal prosecution. any such proposed
disclosure shall be notified by the Requesting
party to the Requested party in advance.

(d) The Treaty shall not apply to
anti-truat or cospatition law investigations or
proceedings at this tise. The Central
Authorities say st their discretion treat as
proceedings for the purpose of this treaty such
anti-trust or competition law satters, or
anti-trust or competition law letters generally,
as nay be agreed in writing between the Parties
at a later date.

(a) 'Coepulsory neasurea' in Article 18,
including in the case of the United States a
grand jury suhpoena, are those seasures that
require an action to be pertorsed by any person
located in the territory of the Party not issuing
tha measure and that tall within the following
categories:

(i) any measure for the production of
evidence located in the territory of the
Party not issuing the seaaure;

(ii) any seasure relating to assets in
the territory or the Party not issuing the
measure; or

(iii) any measure compelling a natural
person who is in the territory of one Party

to sake s personal appearance in the

territory of the other party unless:

 

 

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- 3 _
a) the Party cospelling the
appearance has lawfully obtained
jurisdiction over that person; or
b) the person is a national of
the Farty cospelling the appearance,
without prejudice to whether a Party objects
to these compulsory measures or the
jurisdiction claimed by the other Party.
The Central Authorities say add to or amend the
categories referred to above as nay be agreed in
writing between the Farties.

(f) In the spirit of cooperation, sutual
respect, and good will, and in the interests of
facilitating the cooperative use of the Treaty
with respect to proceedings that fall within its
scope and of avoiding measures which could result
in a conflict of laws, policies, or national
interests, the united states Governoent shall
take several practical measures to reduce the
nusber of instances in which conflict may be
anticipated. In particular, the United states
Department of Justice, on behalf of the united
States Governeent, shall:

(i) instruct all federal prosecutors
not to seek compulsory measures, as referred
to in Article 18(2), with respect to any
satter for which assistance could be granted
under the Treaty unless the united States
Central Authority has concluded that the
provisions or article 18 or the Treaty have

been satisfied;

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- g -

(ii) instruct all federal prosecutors
not to enforce any cospulsory seasures, as
referred to in Article l|(l), with respect
to any latter for which assistance could be
granted under the treaty, unless the United
States Central Authority has concluded that
the provisions of Article 18 have been
satisfied; and

(iii) undertake to discourage the
issue of conpulsory neasures by other united
states Governeent agencies for evidence
located in the United Kingdom in any matter
covered by the Treaty by advising all such
agencies not to seek such process without
consultation and coordination with the
United States Central authority,

lt the above proposal is acceptable to the

Governsent of the united states of asarica, l have the

honour to propose that this Note and your lscellency's

reply to that effect shall constitute an agreement
between our two Governnents, which shall enter into
force on the date of entry into force of the Treaty.

l have the honour to convey to Your Excellency
the assurance of sy highest consideration.'

l have the further honor to intern your Bxcellency
that the foregoing proposals are acceptable to the
Governsent of the united States of Aeerica end that your
Bxceiiancy's Nota and this lots shall constitute an
agreesent between our two Governsenta, which shall enter

into force on the date of entry into force of the Treaty.

For The Secretary of State:

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British hbassy
washington D.C.
His mellenoy
llaan l christopher
secretary of State
of the United States of A-erica 6 anuary 1994

Your mcellency,

I have the honour to refer to the Treaty between the
Goverzment of The united states of America and the Government of
the United Kingdo- o£ Great Britain and Northsrn lreland on
Mutual I.»egal Assistanoe in Crisinsl letters (the Treaty) signed
today. I have the honour to propose that the Treaty be applied
in accordance with the provisions set out in this lote.

(a) The terre 'i»ortant public policy" in Article 3(1) (a)
would include a Requested Ferty's licy ot opposing the
exercise of jurisdiction which in ts view is
extraterritorial and objectionable.

(b) Article 3(1) (b) shall not affect the availability of
assistance in respect of other participants in the offence
for which assistance is requested who would not be entitled
to b; discharged on the grounds of previous acquittal or
conv ct oo.

(c) Article 7(2) shall not preclude the use or disclosure of
information to the extent that there is an obligation to do
so under the Constituti.on or law of the Requesting Party in
a criminal prosecution. Any such proposed disclosure shall
re notified by the uquesting Party to the Requested Party
11 \dvm.. _

(d) The Treaty shall not apply to anti-trust or competition
law investigations or proceedings at this tiee. The Central
Authorities nay at their discreth treat as proceedi s for
the purpose of this Treaty such anti-trust or coeq>etition
law matters, or anti-trust or ccqetition law matters
generally, as say be agreed in writing between the Partieo
at a later date.

(e) "Compulsozy neasures" in Article 18, including in the
case of the united states a grand jury suhpoena, are those
measures that require an action to be performed by any
person located in the territo of the party not issuing the
measure and that fall within t following categoriee:

 

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(i) any measure for the production of evidence located
in the territory of the ¥arty not issuing the ueasure;

(ii) any measure relating to assets in the territory of
the Party not issuing the measure; or

(iii) ariz measure compelling a natural person who ia in
the te tory of one Party to lake a personal appearance
'in the territory o£ the other Party unlesa:

a) the party compelling the appearance has lawfully
obtained jurisdiction over that person; or

b) the person is a national of the Party compelling
the appearance,

without prejudice to whether a Party objects to these
sory measures or the jurisdiction claimed by the

compul
other Party.

The Central Authorities may add to or amend the categories
referred to above as say be agreed in writing between the
Parties.

(£) In the spirit of cooperation, mutual respect, and good
will, and in the interests of facilitating the cooperative
use of the Treaty with respect to proceedings that fell
within its scope and of avoiding measures which could result
in a conflict of laws, policies, or national intereste, the
United states Government shall take several practical
measures to reduce the number of instances in which conflict
may be anticipated. In particular, the United states
Department of Justice, on behalf of the United States
Goverment, shells

(i) instruct all federal prosecutors not to seek
compulsory measures, as referred to in Article 18 (2) ,
with respect to any latter for which assistance could be
granted under the Treaty unless the United States Central
Authority has concluded that the provisions of Article 18
of the Treaty have been satisfied;

(ii) instruct all federal prosecutors not to enforce
any sory measures, as referred to in Article 18(2) ,
with respect to any matter for which assistance could be
granted under the Treaty, unless the united states
Central Authority has concluded that the provisions of
Article ls have been satisfied; and

(iii) undertake to discourage the issue of compulsory
measures by other United states Goverment agencies for
evidence located in the united linng in any matter
covered by the Treaty by advising all such agencies not
to seek such process without consultation and
coordination with the United States Central Authority.

 

 

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If the above government of the
United states ofpmg,t; Mi;g::q:h:o propose that this
Note and Your wellsnoy's reply to that effect shall constitute
an m¢wt arm our gm W, Whi¢h Ihlll Cnter into
force on the date of entry into force ot the 'rrea€¥-

I have the honour to convey to
Your Rxcellenoy the assurance of
ny highest consideration.

/l.€..‘, /L'_./

RQBIN ll RRHIICK

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